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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                           8/19/2024
 NIELSON CONSUMER LLC,

                               Plaintiffs,                    SCHEDULING ORDER
                   -against-                                 22-CV-3235 (JPO)(KHP)


 CIRCANA GROUP, L.P.,

                               Defendant.

KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

       The parties appeared before the undersigned at a case management conference held on

August 15, 2024. As discussed at the conference and set forth more fully on the record it is

hereby ordered that:

           •   The parties will exchange document discovery from Jim Peck, Karyn Schoenbart,

               and Jeremy Allen. The parties are permitted to redact portions of the

               documents for relevance, but must provide a redaction log;

           •   Defendant Circana Group, L.P. shall supplement its responses to Interrogatories

               1, 2, and 3 consistent with the Court’s instructions at the conference;

           •   Plaintiff Nielsen Consumer LLC shall serve a contention interrogatory to obtain

               the information sought by interrogatory number 4;

           •   The parties shall begin rolling document production by September 16, 2024;

           •   The Court adopts the proposed revised discovery schedule as follows:

                   o Document productions must be substantially complete by November 4,

                       2024,
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                  o Interrogatories and Requests to Admit are due by January 13, 2025,

                  o Depositions must be complete by February 13, 2025,

                  o Fact Discovery will close on February 13, 2025,

                  o Plaintiff’s and Counterclaimant’s expert disclosures are due by March 17,

                      2025,

                  o Defendant and Counterclaim-Defendant’s Expert disclosures are due by

                      April 28, 2025

                  o Expert discovery will close on May 16, 2025.

           •   A case management conference is hereby scheduled for October 1, 2024 at 2:30

               p.m. in Courtroom 17D, United States Courthouse, 500 Pearl Street, 10007.

      The Clerk of the Court is respectfully directed to terminate the motion at ECF Nos. 352

and 354.

           SO ORDERED.

 Dated:    August 19, 2024
           New York, New York

                                                           KATHARINE H. PARKER
                                                       United States Magistrate Judge
